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                UNITED STATES DISTRICT COURT
                              Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                         (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Nakesha SHARRIEFF                      Docket Number:      2:09CR00422-01

Name of Judicial Officer:     United States District Judge William B. Shubb

Date of Original Sentence:    5/16/2011

Original Offense: 18 U.S.C. § 371 – Conspiracy to Commit Student Loan Fraud (CLASS D FELONY);
                    18 USC § 1028A – Aggravated Identity Theft (CLASS E FELONY)

Original Sentence: 70 months Bureau of Prisons; 36 months supervised release; Mandatory testing;
Firearm restrictions; DNA collection; $200 special assessment; $234,515 restitution.

Special Conditions:

        1)    Warrantless Search
        2)    Financial Disclosure
        3)    Financial Restrictions
        4)    Drug/Alcohol Treatment
        5)    Drug/Alcohol Testing


Type of Supervision:     Supervised Release

Date Supervision Commenced:        9/20/2013

Other Court Actions:

02/07/2014:             Petition 12a submitted notifying the Court of a positive drug test. The Court
                        acknowledged and ordered no further action on 02/07/2014.




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                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:

   6. The defendant shall abstain from the use of alcoholic beverages and shall not frequent
      those places where alcohol is the chief item of sale.

Justification: On February 4, 2015, a copy of an arrest report was received as it pertains to a
recent incident involving the releasee. According to the report, on January 19, 2015, a
Sacramento Police (SPD) officer observed a red Chevy Camaro drive at a high rate of speed.
SPD followed the vehicle (without activating overhead lights) until the Camaro parked at a
corner. While approaching the Camaro, the officer noticed significate front end damage to the
vehicle. Thereupon, the officer made contact with two male passengers and the driver (Sharrieff).
During questioning, the front passenger stated that they had just been in a vehicle collision while
he was driving the vehicle. In fear of get in trouble because he was not a licensed driver, he
persuaded Sherrieff to drive him away from the scene.

A secondary SPD officer was dispatched to the location of the hit and run incident. The officer
collected a victim statement of the incident which included an assessment for injuries (pain in
her neck). In addition, the victim confirmed that a male was operating the Camaro during impact.

While being questioned by SPD, the releasee was displaying signs of intoxication. As a result, a
Field Sobriety Test was performed (to which she failed). In addition, a Preliminary Alcohol
Screening was performed yielding .21/.21%. Consequently, Sharrieff was transported to
Sacramento County Jail and booked for a violation of California Vehicle Code Section
23152(A): Driving Under the Influence; and California Vehicle Code Section 23152(B): Driving
with a BAC of .08% or greater. Sharrieff’s next scheduled appearance before the Sacramento
County Superior Court is set for February 18, 2015.

Consequently, the releasee was verbally admonished for her involvement in the violation
conduct which potentially could have caused harm to unsuspecting victims. The offender signed
PROB 49, Consent to Modify Conditions, to which she agrees to abstain from alcohol use.
Moreover, she has since been referred to substance abuse treatment and Cognitive Behavioral
Treatment (MRT). That said, the probation offender respectfully requests the Court impose the
added condition with no further action. However, in the event Sharrieff strays from her
commitment and/or other violation conduct is discovered, the Court will promptly be notified.




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                                                        Respectfully submitted,

                                                        /s/ Vladimir Pajcin

                                                        VLADMIR PAJCIN
                                                        United States Probation Officer
                                                        Telephone: (916) 786-2357
DATED:         2/13/2015
                                                        Reviewed by,

                                                        /s/ Michael A. Sipe

                                                        MICHAEL A. SIPE
                                                        Supervising United States Probation Officer


THE COURT ORDERS:

☒ Modification not approved at this time. Probation Officer to contact Court. If I read the report
correctly, releasee not only drove with a .21% blood alcohol level, but she assisted another offender in
fleeing from the scene of an accident. That may require more than substance abuse treatment.

Dated: February 13, 2015




CC:
United States Probation
Assistant United States Attorney: Jean Marie Hobler
Defense Counsel: Dan Frank Koukol (appointed)




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